Case: 4:19-cr-00998-JAR Doc. #: 62 Filed: 03/11/21 Page: 1 of 12 PageID #: 121



                               TINITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

   UNITED STATES OF AMERICA,                           )
                                                       )
      Plaintiff,                                       )
                                                       )

                                                       )     No. 4:19 CR 998 JAR
   LAKISHA     S.   SMITH,                             )
                                                       )
      Defendant.                                       )
                                                       )

                                  GUIT,      PLEA AGREEMENT

         Come now the parties and hereby agree, as follows:

 I.4EIE,S,:
         The parties are the defendant, Lakisha S. Smith, represented by defense counsel,

         susan McGraugh, and the united states             of America   (hereinafter "united states', or

 "Govemment"), represented by the office of the united States Attomey for the Eastem District of

 Missouri. This agreement does not, and is not intended to, bind any govemmental office or agency

 other than the United States Attomey for the Eastem District of Missouri. The Court is neither a

 party to nor bound by this agreement.

 2. GUILTYPLEA:

         Pursuant to Rule I l(c)(l)(A), Federat Rules of criminal procedure, in exchange for the

 defendant's voluntary plea of guilty to counts Two and Five of the charge, the goverffnent agrees

 to move for the dismissal as to the defendant of counts one, Three, Four and six at the time of

 sentencing. Moreover, the United States agrees that no further federal prosecution will be brougtrt

 in this District relative to the defendant's preparation ofand filing fatse federal income tax retums

 with the Intemal Revenue service for the years 2013, 2014 and 2015 of which the Govemment is

 aware at this time.

                                                   I
Case: 4:19-cr-00998-JAR Doc. #: 62 Filed: 03/11/21 Page: 2 of 12 PageID #: 122



         In addition, the parties   agree that the     U.s. sentencing Guidelines Total offense Level
 analysis agreed to by the parties herein is the result of negotiation and led, in part, to the guilty

 plea. The parties fruther agree that either party may request a sentence above or below the U.S.

 sentencing Guidelines range (combination     ofrotal offense Level and criminal History category)

 ultimately determined by the court pursuant to any chapter of the Guidelines and            ritle lg, united
 States code, Section 3553(a). The parties     fu(her agree that notice ofany such request will be

 given no later than ten days prior to sentencing and that said notice shall specify the legal and

 factual bases for the request.

 .3.E!E,M4IS,:
        As to Counts Two and Five, the defendant admits to knowingly violating the statute listed

 below and admits there is a factual basis for the plea to each count and further fully understands

 that the elements of the crime are:

        Title 26, United States Code, Section 7206(2)

            1.   The defendant aided and assisted in and prepared       a   federal income tax return that

                 was presented to the lnternal revenue service;

           2.    The return was false as to a material matter; and

           3.    The defendant acted willfully.




 4.M:
        The parties agree that the facts in this case are as follows and that the govemment would

 prove these facts beyond a reasonable doubt      if   the case were to go to   trial.   These facts may be

 considered as relevant conduct pursuant to Section 18 1.3:

        From 2013 through 2016, Lakisha S. Smith, the defendant, prepared approximately 28

 federal income tax retums for individuals and, through the use of the TaxAct commercial website,
                                                       2
Case: 4:19-cr-00998-JAR Doc. #: 62 Filed: 03/11/21 Page: 3 of 12 PageID #: 123



 '   filed most of those retums online from her cellular phone or her I-pad. The defendant was not

     registered with the Intemal Revenue Service     (RS)   as a retum preparer and she did not sign (as a

     preparer) the retums that she prepared and filed for other individuals. The tax returns referenced

     above and prepared and filed by the defendant during that period were false and constituted

     fraudulent claims for refund.

              The tax retums prepared and filed by the defendant were false as to a number of material

     matters. The defendant submitted false W-2 information which reflected fatse employer names as

     well   as false wage and   hcome tax withholding amounts. The defendant also included false cla ns

     for dependents on some of the retums. The defendant manipulated the w-2 information                  and

     dependent claims    in   order to falsely increase the refund shown through the application     of   the

     Eamed Income Tax Credit        (EITC). On   some retums the defendant falsely used the   filing statu
     "head of household" instead of single in order to increase the refund.

              The false tax retums prepared and filed by the defendant forthe years 2012, 2013, 2Ol4

     and 2015 claimed refunds in the amount of s134,542.00. The defendant caused the refunds to be

     paid directly into bank accounts or thrcugh prepaid debit cards. The defendant typically received

     cash payments    ofup to $2,500.00 from the false refunds paid to her customers. on April 2g, 2016,

     a search   warant was executed    at the defendant's residence on the 10,000 block of Renfrew   Drive
     in st. Louis county. Numerous materials were seized showing names, social security numbers,

     driver's license numbers and bank account and routing numbers. Many of the papers were

 handwritten. various w-2 forms and numerous prepaid debit cards were seized, some in the

 defendant's name and some in the names of others including              thei bank account and routing
 numbers' Some of the materials reflected the amount of refund that was claimed and some of the

 materials showed the portion of a refund that the defendant expected to receive.

              Count Two

                                                       3
Case: 4:19-cr-00998-JAR Doc. #: 62 Filed: 03/11/21 Page: 4 of 12 PageID #: 124



 '          On or about February 11, 2016, the defendant prepared and electronically filed through

     TaxAct a U. S. Individual Income Tax Retum (Form 1040A) for 2015 in the name of DB. The

     defendant submitted false     w-2 information   as   part of the   retum.   That   w-2 information        falsely

     reflected federal income tax withleld in the amount of $2,742.00 based on employment at Minact

     Inc. when, in fact, DB was not employed at Minact Inc. and there was no such withholding. The

     defendant was employed by several entities in 2015 but she eamed significantly less in wages thdr

     was reported and only $114.00 in federal taxes were withheld from those wages. The defendant

     increased the EITC by   $   1,281.00 over the allowable credit for DB on that        retum. The tax retum

 prepared and frled by the defendant in the name DB for 2015 constituted                a false   claim for a refund

     in the amount of $8,425.00 which was paid out by the IRS when, in fact, the allowable refund for

 DB on that retum was $3,317.00. The defendant knew that she made material misstatements on

 this return and she knew that the retum was false. She acted            willfully in preparing       and   filing this

 retum.

            There were a number of references to DB in the papers seized from the defendant's

 residence. The specific user ID identifiers for DB as used in the TaxAct submission were fowrd

 in a handwritten notation which included DB's date of birth and the number "8425" which was the

 amount of the refund claimed on the 2015 retum.

            Count Five

            on or about February 4, 2015, the defendant prepared and filed          a U.S.        Individual Income

 Tax Retum (Form 10404) for 2014 in the name of                  BH. The     defendant submitted false w-2

 information as part of the retum. That information corectly showed that BH was employed by

 walrnart and further showed the corect wages in the amount of $1g,206.00. But that w-2

 information falsely reflected taxes withheld in the amount of $1,542.00 when, in
                                                                                  fact, the actual
 amount of taxes withheld was $1,193.00. The defendant also included
                                                                     a false claim for a

                                                          4
Case: 4:19-cr-00998-JAR Doc. #: 62 Filed: 03/11/21 Page: 5 of 12 PageID #: 125



  dependent on the retum which increased the standard deduction, allowed the defendant to show

  BH   as a head      of household and further allowed the claim of a child tax credit. The tax retum

  prepared and filed by the defendant in thename         ofBH      for 2014 constituted   a false   claim for refind

  in the amount of $5,663.00 when BH was eligible for a refund in the amount of $355.00.

           One of the pages seized in the search ofthe defendant's residence bore the notation ..5,663,

  3 166   her, 2000   me,500you." Another         notation showed "5,663,2000" and another sequence              of
  numbers reflecting BH's social security number. BH's e-mail address was also included in the

 notation. A refund in the amount of $5,663.00 was claimed on BH's retum. After receiving the

 refund, BH paid the defendant $2,500.00 in cash for the preparation and filing ofthe retum.

           The defendant knew that she made material misstatements on this retum and she knew that

 the retum was false. She acted willfuUy in preparing and filing this rehrm.

 5. STATUTORY PENALTIES:

           The defendant fully undentands that the maximum possible penalty provided by law for

 each count to which the defendant is pleading guilty is imprisonment             ofnot more than 3 years, a
 fine ofnot more than $250,000.00, or both zuch imprisonment and flre, and a period ofsupervised

 release of not more than      I year, as well   as the costs   ofprosecution.

           Accordingly, the maximum possibte punishment for the defendant pu$uant to her plea of

 guilty is imprisonment of not more thau 6 years, a fine of not more than $500,000.00, or both
                                                                                               such

 fine and imprisonment. The Court may also impose a period of supervised release of not more

 than I years as well as costs ofprosecution.

 6. U.S.SENTENCING G UIDELT\ES:                     201 8MANUAL:

           The defendant understands that this offense is affected by the U.S. Sentencing
                                                                                          Guidelines
 and the actua[ sentencing range is determined by both the Total Offense
                                                                         Level and the Criminal



                                                         5
Case: 4:19-cr-00998-JAR Doc. #: 62 Filed: 03/11/21 Page: 6 of 12 PageID #: 126



  History category. The parties agree that the following are the applicable u.s. Sentencing

  Guidelines Total Offense Level provisions.

          a. Chapter      2 Offense   Conduct:

          (1)   Base offense      Level: The parties     agree that the base offense level   is 16 as found in
  Sections 2T1.4(a)(l) and 2T4.1(F) since the tax loss was $ 134,000.00.

          (2)   SDecific Offense Characteristics: The parties agree that 2 offense levels should be

 added since the defendant was in the business of preparing tax retums as found in section

 211.4(bX1XB).

           b. Chaoter     3 Adiustments:

                  Acceptance of Responsibi.li8: The parties agree that 3 levels should be deducted

 pursuant to Section 3E1.1(a) and (b), because the defendant has clearly demonstrated acceptance

 of responsibility and timely notified the govemment of the defendant,s intention to plead guilty.

 The parties agee that the defendant's eligibility for this deduction is based upon information

 presently known.        If   subsequent to the taking   of the guilty plea the govemment receives new
 evidence of statements or conduct by the defendant which                it   believes are inconsistent with

 defendant's eligibility for this deduction, the govemment may present said evidence to the
                                                                                            court,

 and argue that the defendant should not receive all or part         ofthe deduction pursuant to Section
 3El.l, without violating theplea       agreement.

         c. Estimated Total Offense Level:           The parties estimate that the Total Offense Level is

 t5

         d. criminal Historv:          The determination of the defendant's criminal History category

 shatl be left to the   court.   Either party may cha[enge, before and at sentencing, the finding
                                                                                                  of the
 Presentence Report as to the defendant's criminar history and
                                                               the applicable category. The



                                                         6
Case: 4:19-cr-00998-JAR Doc. #: 62 Filed: 03/11/21 Page: 7 of 12 PageID #: 127



  defendant's criminal history is known to the defendant and is substantially available in the pretrial

  Services Report.

         e. Effect of Parties'   U.S. Senten crng Guidelines Analvsis:           The parties agree that the

 Court is not bound by the Guidelines analysis agreed to herein. The parties may not have foreseen

 all applicable Guidelines. The court may, in its discretion, apply or not apply any Guideline

 despite the agreement herein and the parties shall not be permitted to withdraw from the plea

 agreement.

 7. WAIVER OF APPEAL AND P OS T-CONVICTION RIGIITS:

         a. Appeal: The defendant      has been   fully apprised by defense counsel of the defendant's

 rights concerning appeal and fully understands the right to appeal the sentence under Title lg,

 United States Code, Section 3742

                 (l)   Non-.Sentencing Issues:      The parties waive all rights to appeal all non-
 jurisdictional, non-sentencing issues, including, but not limited to, any issues relating to pretrial

 motions, discovery, the guilty plea, the constitutionality of the statutes to which defendant           is

 pleading guilty and whether defendant's conduct falls within the scope ofthe statutes.

                 (2) Sentencing Issues: In the event     the court accepts the plea, accepts the u.S.

 Sentencing Guidelines Total offense Level a$eed to herein, and, after determining a Sentencing

 Guidelines range, sentences the defendant within or below that range, then, as part of this

 agreement, the defendant hereby waives       all rights to   appeal   all   sentencing issues other than

 criminal History, but only if it affects the Base offense Level or criminal History category.

 Similarly, the Government hereby waives all rights to appeal all sentencing issues other thar

 criminal History, provided the court accepts the prea and the         agreed    rotal offense Level   and

 sentences the defendant within or above that range.




                                                    7
Case: 4:19-cr-00998-JAR Doc. #: 62 Filed: 03/11/21 Page: 8 of 12 PageID #: 128



         b'    Habeas Corpus: The defendant agrees to waive all rights to contest the conviction or

 sentence     in any post-conviction   proceeding, including one pusuant to       Title 2g, united   states

 Code, Section 2255, except for claims of prosecutorial misconduct or ineffective assistance of

 counsel.

         c. B!gIl_E-@tdS: The defendant              waives all rights, whether asserted directly or by   a

 representative, to request from any department or agency             of the united states any records
 pertaining to the investigation orprosecution of this case, including any records that may be sought

 under the Freedom of Information Act, Title 5, United States code, Section 522, or the privacy

 Act, Title 5, United States Code, Section 552(a).

 8.SEB:
         a. Disclosures Required bv the United States Probation Office:             The defendant agrees

 to truthfully complete and sign forms      as required    by the United States Probation Office prior to

 sentencing and consents to the release of these forms and any supportilg documentation by the

 United States Probation Office to the govemment.

         b.    Civil or Adminisfra tive Actions not Barred: Effect on Other Governmental

 AB@,:         Nothing contained herein limits the rights and authority of the United States to take

 any civil, tax, immigration/deportation or administrative action against the defendant.

         c.   Supervised Rel ease: Pursuant to any supervised release term, the Court will impose

 standard conditions upon the defendant and may impose special conditions related to the crime

 defendant    committed.        These conditions   will be restrictions on the defendant to which      the

 defendant    will   be required to adhere. Violation    ofthe conditions of supervised release resultrng
 in revocation may require the defendant to serve a term of imprisonment equal to the length ofthe

 term of supervised release, but not greater than the term set forth in Title l g, United States
                                                                                                 codq



                                                     I
Case: 4:19-cr-00998-JAR Doc. #: 62 Filed: 03/11/21 Page: 9 of 12 PageID #: 129



  Section 3583(e)(3), without credit for the time served after release. The defendant understmds

 that parole has been abolished

         d.    Mandatorv special Assessment: pursuant to Title lg, United states code, Section

 3013, the court is required to impose a maudatory special assessment of$100.00 per count            fora
 total of$200.00, which the defendant agrees to pay at the time of sentencing. Money paid by the

 defendant toward any restitution or fine imposed by the Court shall be    fint   used to pay any unpaic

 mandatory special assessment.

         e.    Possibilitv of Detention: The defendant may be subject to immediate detention

 pulsuant to the provisions of Title 18, United States Code, Section 3143.

         f.   Fines. Restitution and costs oflncarceration and supervlsion: The court may order

 restitution as a condition of supervised release in this case. The court may also impose a fine (in

 addition to any penalty authorized by law), costs of incarceration and costs of supervision. The

 defendant agrees that any fine or restitution imposed by the court         will be due and payable
 immediately.

         g. Forfeiture: The defendant agrees to forfeit all of the defendant's       interest in all items

 seized by law enforcement officials during the course of their investigation. The defendant admits

 that all the united states curency, weapons, property and assets seized by law enforcement

 officials during their investigation constitute the proceeds of the defendant's illegal activity, were

 commingled with illegal proceeds or were used to facilitate illegal activity. The defendant agrec

 to execute any document and take all steps needed to transfer title or ownenhip of said items
                                                                                               to

 the government and to rebut claims ofnominees and/or alleged third party
                                                                          owners. The defendant
 further agrees that said items may be disposed ofby law enforcement officiars
                                                                               in any manner.

        9. ACKNOWLED GMENTANDW ATVEROF THE DEFENDANT' S RIGHTS:



                                                   9
Case: 4:19-cr-00998-JAR Doc. #: 62 Filed: 03/11/21 Page: 10 of 12 PageID #: 130



          In pleading guilty, the defendant aclsrowledges, fully understands and hereby waives her

  rights, including but not limited to: the right to plead not guilty to the charges; the right to be tried

  by a jury in a public and speedy trial; the right to file pretrial motions, including motions to

  suppress or exclude evidence; the      right at such trial to   a presumption   of innocence; the right to

  require the govemment to prove the elements of the offenses against the defendant beyond                 a

  reasonable doubt; the right not to testify; the right not to present any evidence; the right to be

  protected from compelled self-incrimination; the right at trial to confront and cross-examine

  adverse witnesses; the right to testify and present evidence and the right to compel the attendance

  of witnesses. The defendant further understands that by this guilty plea, the defendant expressly

 waives all the rights set forth in this paragraph.

         The defendant fully undentands that the defendant has the right to be represented by

 counsel, and   if   necessary, to have the Court appoint counsel at trial and at every other stage of the

 proceeding. The defendant's counsel has explained these rights and the consequences ofthe waiver

 ofthese rights. The defendant fully understands that, as a result of the guilty plea, no trial will, in

 fact, occur and that the only action remainilg to be taken in this case is the imposition of the

 sentence.

         The defendantis fully satisfied with the representation received from defensecounsel. The

 defendant has reviewed the govemment's evidence and discussed the govemment's case and all

 possible defenses and defense witnesses with defense counsel. Defense counsel has completely

 and satisfactorily explored all areas which the defendant hasrequested relative to the govemment,s

 case and any defenses.

 10, VOLUNTARY NATURE OF TTM, GU IL TY PLEA AND PL EAAGREEMENT:

         This document constitutesthe entire agreement betvr'een the defendant and the govemmen!

 and no other promises or inducements have been made, directly or indirectly, by any agent of the

                                                      l0
Case: 4:19-cr-00998-JAR Doc. #: 62 Filed: 03/11/21 Page: 11 of 12 PageID #: 131



  government, including any Department of Justice attomey, conceming any plea to be entered in

  this case. In addition, the defendant states that no person has, directly or indirectly, tkeatened or

  coerced the defendant to do or refrain from doing anything in connection with any aspect of this

  case, including entering a plea of guilty.

          The defendant acknowledges having voluntarily entered into both the plea agreement and

  the guilty plea. The defendant furtheracknowledges that this guilty plea is made ofthe defendant's

  own free will and that the defendant is, in fact, guilty.

  I1. CONSEOUENCE          S   OF POST.PLEA MISCONDUCT            :



         After pleading guilty and before sentencing, if defendant commits any crime, other than

 minor traffic offenses, violates any condition ofrelease that results in revocation, violates any term

 of this guilty plea    agreement, intentionally provides misteading, incomplete         or untruthful
 information to the u.S. Probation office or fails to appear for sentencing, the United states, at its

 option, may be released from its obligations under this agreement. The Govemment may also, in

 its discretion, proceed with this agreement and may advocate for any sentencing position supported

 by the facts, including but not limited to obstruction of justice and denial of acceptance of

 responsibility.

 12. NO RICHTTO WITTIDRAW GUILTY PLEA:

         Pursuant to Rule      ll(c)   and (d), Federal Rules of criminal procedure, the defendant

 understands that there   will be no right to withdraw the plea entered under this agreement,   except

 where the court rejects those portions        of the plea agreement which    deal   with charges the
 govemment agrees to dismiss or not to bring.




                                                    lt
Case: 4:19-cr-00998-JAR Doc. #: 62 Filed: 03/11/21 Page: 12 of 12 PageID #: 132

3    MI                                                               +   4-16B
        Date                                            J. ROY #4
                                            Assistant United States Attomey




                                                     a          h(
        Date                                     S   A   S.   SMITH
                                            Defendant


       o2t2612021
        Date                                SU           RAU
                                            Attomey for Defendant




                                       12
